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 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )               No. CR. S-08-178 MCE
11                                         )
                       Plaintiff,          )
12                                         )               ORDER TO TRANSFER VENUE TO THE
           v.                              )               DISTRICT COURT FOR THE WESTERN
13                                         )               DISTRICT OF WASHINGTON
     ABRAHAM BARRAGAN-ZEPEDA,              )
14   FERNANDO BARRAGAN-ZEPEDA,             )
     RIGOBERTO GARFIAS-BARRAGAN            )
15                                         )
                       Defendants.         )
16                                         )
     _____________________________________ )
17
18          In consideration of the defendant Abraham Barragan-Zepeda’s motion to transfer venue of the
19   above captioned case pursuant to Federal Rule of Criminal Procedure 21(b) to the Western District of
20   Washington, the joinder of Fernando Barragan-Zepeda and Rigoberto Garfias-Barragan thereto, and the
21   government’s response,
22          IT IS HEREBY ORDERED, that the defendants’ motion to transfer venue is GRANTED as to
23   Abraham Barragan-Zepeda, Fernando Barragan-Zepeda, Rigoberto Garfias-Barragan, Guadalupe
24   Barragan-Zepeda, and Herminio Barragan-Mendoza;
25          IT IS FURTHER ORDERED, that the Clerk’s Office for the United States District Court for the
26   Eastern District of California shall transfer the case for all future proceedings to the Clerk of the United
27   States District Court for the Western District of Washington in accordance with Federal Rule of Criminal
28   Procedure 21(c); and
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 1          IT IS FURTHER ORDERED, that the United States Marshal Service shall transport defendants
 2   Abraham Barragan-Zepeda, Fernando Barragan-Zepeda, and Rigoberto Garfias-Barragan, to the Western
 3   District of Washington on or before April 29, 2009, so they can appear in court on April 30, 2009, for their
 4   initial appearances in the Western District of Washington. Herminio Barragan-Mendoza is currently in
 5   custody in the Western District of Washington and Guadalupe Barragan-Zepeda is at large.
 6
 7          IT IS FURTHER ORDERED that, in light of the change of venue, the time between February 19,
 8   2009, and the defendants’ initial appearance in the Western District of Washington shall be excluded from
 9   the calculation of time under the Speedy Trial Act to allow for the transfer of the case. 18 U.S.C. §
10   3161(h)(1)(E).
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12    Dated: March 27, 2009

13                                                     ________________________________
                                                       MORRISON C. ENGLAND, JR.
14                                                     UNITED STATES DISTRICT JUDGE
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